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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    : No. 21-MJ-236
                                             :
LUKE RUSSELL COFFEE,                         :
     Defendant.                              :

                          SUPPLEMENTAL MEMORANDUM IN
                         SUPPORT OF PRE-TRIAL DETENTION

       Luke Coffee used a crutch to attack police officers who were guarding a Lower Terrace

entrance to the U.S. Capitol during the January 6, 2021 insurrection. This and his other offense

conduct, along with his actions both before and after the attack are distinguishable from the facts

and circumstances of United States v. Munchel, No. 21-3010, 2021 WL 1149196 (D.C. Cir. Mar.

26, 2021), and warrant detention. Unlike Munchel, Coffee has been charged with crimes of

violence against law enforcement and, in the weeks following the attack, bragged about his role

in the insurrection, even saying it was a “privilege” to be on an FBI poster seeking information

about Coffee and others. Coffee thus demonstrated both violent conduct on the day of the

insurrection but also future dangerousness. He should be detained pending trial, even under the

reasoning of Munchel.

       This memorandum responds to this Court’s minute order of April 5, 2021, directing the

government to address the application of Munchel to this case and sets forth the reasons that

decision by the Court of Appeals does not alter the calculus that the detention of the defendant

is appropriate. See Dkt. (Min. Order of Apr. 5, 2021) (hereinafter “Minute Order”).

       The Court directed the government to address eight specific elements from the Munchel

decision, and the government responds to each point below. This Court noted that, in Munchel,

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the Court of Appeals

             (1) examined a statutory definition before finding that ‘at this stage, the
             evidence sufficiently demonstrates that Munchel’s taser is a dangerous
             weapon under the statute.’” Minute Order (quoting Munchel, 2021 WL
             1149196, at *14 n.5).

             (2) placed little weight on a defendant’s mere possession, without use, of a
             dangerous weapon while storming the U.S. Capitol in evaluating the district
             court’s conclusion that the defendant posed a danger to the community,”
             Minute Order (citing Munchel, 2021 WL 1149196 at *12-13).

             (5) emphasized that defendants ‘assaulted no one on January 6 . . . did not
             enter the Capitol by force . . . [and] vandalized no property’ as important
             considerations for whether defendants ‘pose a threat of using force to
             promote [their] political ends,’” Minute Order (citing Munchel, 2021 WL
             1149196, at *21-22).

             (7) articulated a difference between mob participants that ‘assaulted police
             officers and broke through windows, doors, and barricades, and those who
             aided, conspired with, planned, or coordinated such actions’ and those who
             ‘cheered on the violence or entered the Capitol after others cleared the
             way,’” Minute Order (citing Munchel, 2021 WL 1149196, at *22).

       These portions of the D.C. Circuit’s discussion are relevant, as they were in Munchel, to

whether Coffee is eligible for detention under 18 U.S.C. § 3142(f)(1)(E). See Munchel, 2021

WL 1149196, at *6. The Munchel court examined the definition of “dangerous weapon” that

appears in 40 U.S.C. § 5104(a)(2)(B), the statute under which Munchel was charged. Under

Munchel, if a defendant is charged by indictment or complaint with committing an offense that

has, as an element, the possession or use of a “dangerous weapon,” that is sufficient to satisfy

18 U.S.C. § 3142(f)(1)(E). See Munchel, 2021 WL 1149196, at *6 (“The Bail Reform Act thus

explicitly authorizes detention when a defendant is charged with committing certain felonies

while possessing a dangerous weapon, as is alleged in this indictment.”). Coffee, unlike

Munchel, is charged with Assault of Federal Law Enforcement Officer with Dangerous Weapon,

in violation of 18 U.S.C. § 111(b), and Interference with a Law Enforcement Officer During a


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Civil Disorder, in violation of 18 U.S.C. § 231, among other serious offenses. Thus, Coffee,

like Munchel, has been charged, after a finding of probable cause, with an offense that includes,

as an element, the use or carrying of a dangerous weapon. Unlike Munchel in which the

defendant was alleged to have possessed but not used a taser, Coffee used a crutch to attack

police officers who were guarding the Capitol. Although the defense contests that the crutch

was used as a dangerous weapon, Coffee himself admitted that he had “charged” at the officers,

conduct the defense now describes are “pressing against the first row of the Capitol Police line

with the crutch held horizontally with both hands at waist level.” See Dkt. 13 at 8-9. But Coffee

did more than what the defense claims was merely “pressing.” Indeed, after the initial charge

at the officers, Coffee came at them again, this time holding the crutch more aggressively by

positioning it towards an officer’s upper chest and head area. This Court should therefore

conclude that these charges and the government’s proffer are sufficient to establish that the

crutch Coffee used in his assault on law enforcement officers is a dangerous weapon under

Section 3142(f)(1)(E). Munchel, 2021 WL 1149196, at *6 n.5. Coffee squarely fits within the

class of offenders the Munchel court sought to distinguish. He did not merely “cheer[] on the

violence” but was a mob participant who “assaulted police officers” and sought to enter the

Capitol by force. See id. at *22.

              (3) determined the district court did not demonstrate that it ‘adequately
              considered, in light of all the record evidence,’ whether defendants, who were
              a part of the mob assault on the Capitol, illegally entered the Capitol, carried
              weapons onto Capitol grounds, and showed no remorse for their actions, but
              had limited criminal history, . . . presented ‘an identified and articulable
              threat to the community,’” Minute Order (citing Munchel, 2021 WL
              1149196, at *7-8).

              (4) required that any ‘threat be considered in context,’ . . . such that the
              district court must consider ‘the nature of the threat identified and the
              resources and capabilities of the defendant’ to carry out that threat,” Minute
              Order (citing Munchel, 2021 WL 1149196, at *7-8).

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              (6) directed the district court to consider whether defendants pose such a
              threat outside of the specific context ‘of a large group of people who had
              gathered at the Capitol in protest that day’ on January 6th, 2021, since ‘the
              presence of the group was critical to their ability to obstruct the vote and to
              cause danger to the community,’ . . . and ‘there was no explanation of how
              [defendants] would be capable of doing so now that the specific
              circumstances of January 6 have passed,’” Minute Order (citing Munchel,
              2021 WL 1149196, at *8).

       The government analyzes these factors together. There are several reasons not present

in Munchel why Coffee poses an ongoing threat to the community. First, Coffee (but not

Munchel) actually used his dangerous weapon on Capitol grounds—and, what is more, did so

against law enforcement officers protecting the Capitol and its occupants. He further did so in

the midst of a violent mob attack at the Lower Terrace in which one law enforcement officer

was brutally beaten and tased by assailants and who insurrections yelled that they should “kill

him with his own gun.” That places Coffee in a different class of dangerousness than Munchel

and others who engaged in no such conduct; Coffee’s willingness to engage in violence against

so many police officers is an indication of his likely willingness to engage in violence in the

future. Since the attack, not only has Coffee shown no remorse for his conduct but he has openly

bragged about the attack, saying he was ready to die during the assault, alluding to the possibility

of an armed confrontation with law enforcement if they came to arrest him, told his mother he

would arm himself for war, reiterated his belief in the Q Anon conspiracy theories, and said

there had been a sort of Divine intervention encouraging him to continue his attack. These are

the words and actions of a person who did not view his conduct on January 6, 2021, as serious

offenses and, if called upon in the right circumstance, would yet again not hesitate to use violent

means to further his political beliefs.




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               (8) directed that ‘[d]etention cannot be based on a finding that the defendant
               is unlikely to comply with conditions of release absent the requisite finding of
               dangerousness or risk of flight,’” Minute Order (citing Munchel, 2021 WL
               1149196, at *20).

       The government asks this Court to order the pre-trial detention of the defendant based on

his dangerousness and risk of flight, not a finding that he is unlikely to comply with conditions of

release. This final issue raised by the Court of Appeals in Munchel is therefore inapplicable to

this Court’s analysis of whether Coffee should be detained.



                                                     Respectfully submitted,

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